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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE
  __________________________________
                                      §
  ROTHSCHILD BROADCAST                §
  DISTRIBUTION SYSTEMS, LLC           §
                                      §
      Plaintiff,                      §          Case No: 1:18-cv-001156-RGA
                                      §
  vs.                                 §
                                      §
  EPIX ENTERTAINMENT LLC              §
                                      §
              Defendant.              §
____________________________________§


                     NOTICE OF DISMISSAL WITHOUT PREJUDICE

        Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this

 voluntary Notice of Dismissal Without Prejudice pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed

 by the plaintiff without order of court by filing a notice of dismissal at any time before

 service by the adverse party of an answer. Accordingly, Rothschild Broadcast

 Distribution Systems, LLC voluntarily dismisses this action against Defendant without

 prejudice pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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October 26, 2018                     STAMOULIS & WEINBLATT LLC

                                      /s/ Stamatios Stamoulis
                                     Stamatios Stamoulis (#4606)
                                     Two Fox Point Centre
                                     6 Denny Road, Suite 307
                                     Wilmington, DE 19809
                                     (302) 999-1540
                                     stamoulis@swdelaw.com

                                     Attorney for Plaintiff
